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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY
________________________________________________________________________
KELLY BOYD,

               Plaintiff,
vs.
                                                 CASE NO: 3:22-cv-04614-ZNQ-JBD
JO JO'S TAVERN INC., a New Jersey
corporation, d/b/a JOJO'S TAVERN, and
SCHARIBONE REALTY LLC,
a New Jersey limited liability company,

            Defendants.
__________________________________/

                 JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
                             AND ORDER OF DISMISSAL

       COME NOW, Plaintiff, KELLY BOYD, and Defendants, JO JO’S TAVERN INC., a New
Jersey corporation, d/b/a JOJO’S TAVERN, and SCHARIBONE REALTY LLC, a New Jersey
limited liability company, by and through their respective undersigned counsel, pursuant to a
confidential settlement agreement and pursuant to the provisions of Rule 41(a)(1) of the Federal Rules
of Civil Procedure, who do hereby stipulate to the dismissal of the above-captioned action, with
prejudice, with regard to all Defendants. Each party shall bear their own attorneys’ fees and costs.
       Dated: This 22nd day of August, 2023.

 By: ____________________________             By:
      Robert J. Mirel, Esq.                                      ~ Esq.
                                                    Erik E. Sardina,
      The Weitz Law Firm, P.A.                      Kaufman Dolowich Voluck, LLP
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      Attorney for Plaintiff                        Email: esardina@kdvlaw.com
                                                    Attorney for Defendants

SO, ORDERED:

______________________________
Zahid N. Quraishi, U.S.D.J.

        August 25, 2023
Dated: ________________________
